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 8              IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,        )    1:10-CR-00305 LJO
                                      )
12                   Plaintiff,       )    PRELIMINARY ORDER OF FORFEITURE
                                      )
13        v.                          )
                                      )
14   JESUS RODRIGUEZ SALCIDO,         )
                                      )
15                   Defendant.       )
                                      )
16

17        Based upon the plea agreement entered into between plaintiff

18   United States of America and defendant Jesus Rodriguez Salcido, it

19   is hereby ORDERED, ADJUDGED, AND DECREED as follows:

20        1.   Pursuant to 21 U.S.C. § 853(a), defendant Jesus Rodriguez

21   Salcido’s interest in the following property shall be condemned and

22   forfeited to the United States of America, to be disposed of

23   according to law:

24             a.    One 9mm Ruger firearm,

25             b.    One Ruger Speed Six .357 magnum handgun with a
                     loaded magazine, and
26
               c.    One Remington scoped rifle.
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                                          1              Preliminary Order of Forfeiture
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 1         2.     The above-listed property was used, or intended to be

 2   used, in any manner or part, to commit, or to facilitate the

 3   commission of a violation of 21 U.S.C. §§ 846, 841(a)(1) and

 4   (b)(1)(A).

 5         3.     Pursuant to Rule 32.2(b), the Attorney General (or a

 6   designee) shall be authorized to seize the above-listed property.

 7   The   aforementioned     property      shall   be   seized   and    held    by    the

 8   Department of Homeland Security, Customs and Border Protection in

 9   their secure custody and control.

10         4.   a.     Pursuant to 21 U.S.C. § 853(n) and Local Rule 171, the

11   United States shall publish notice of the order of forfeiture.

12   Notice of this Order and notice of the Attorney General’s (or a

13   designee’s) intent to dispose of the property in such manner as the

14   Attorney   General     may    direct   shall   be   posted   for    at   least     30

15   consecutive days on the official internet government forfeiture site

16   www.forfeiture.gov.          The United States may also, to the extent

17   practicable, provide direct written notice to any person known to

18   have alleged an interest in the property that is the subject of the

19   order of forfeiture as a substitute for published notice as to those

20   persons so notified.

21                b.    This notice shall state that any person, other than

22   the defendant, asserting a legal interest in the above-listed

23   property, must file a petition with the Court within sixty (60) days

24   from the first day of publication of the Notice of Forfeiture posted

25   on the official government forfeiture site, or within thirty (30)

26   days from receipt of direct written notice, whichever is earlier.

27         5.     If a petition is timely filed, upon adjudication of all

28   third-party interests, if any, this Court will enter a Final Order

                                              2              Preliminary Order of Forfeiture
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 1   of Forfeiture pursuant to 21 U.S.C. § 853(a), in which all interests

 2   will be addressed.

 3

 4   IT IS SO ORDERED.

 5   Dated:   October 6, 2011              /s/ Lawrence J. O'Neill
     b9ed48                            UNITED STATES DISTRICT JUDGE
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